                                          Case 4:21-cv-06518-PJH Document 85 Filed 09/20/21 Page 1 of 1




                                  1

                                  2                                  UNITED STATES DISTRICT COURT

                                  3                              NORTHERN DISTRICT OF CALIFORNIA

                                  4      TYLER TOOMEY, et al.,
                                                                                       Case No. 21-cv-06518-PJH
                                  5                    Plaintiffs,

                                  6               v.                                   ORDER CONSOLIDATING CASES

                                  7      RIPPLE LABS, INC., et al.,
                                  8                    Defendants.
                                  9

                                  10
                                              On September 20, 2021, the court ordered the above-captioned case to be related
                                  11
                                       to In re Ripple, 18-6753. Pursuant to that order, and to the court’s order dated March 18,
                                  12
Northern District of California
 United States District Court




                                       2019 in In re Ripple (Dkt. 35), the above-captioned case is consolidated into In re Ripple
                                  13
                                       for pretrial purposes.
                                  14
                                              The court has already set a case schedule for In re Ripple for all dates through
                                  15
                                       trial, and those dates will not be amended as a result of the newly-consolidated action.
                                  16
                                       Also, to the extent that the newly-consolidated action involves legal issues arising only
                                  17
                                       under Florida state law, or involves legal issues relating to defendants that are not named
                                  18
                                       in In re Ripple, those issues will not be addressed until the court has resolved the legal
                                  19
                                       issues raised by the earlier-filed action.
                                  20
                                              .
                                  21
                                              IT IS SO ORDERED.
                                  22
                                       Dated: September 20, 2021
                                  23
                                                                                        /s/ Phyllis J. Hamilton
                                  24                                                PHYLLIS J. HAMILTON
                                                                                    United States District Judge
                                  25

                                  26

                                  27

                                  28
